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IN THE DISTRICT COURT OF SEDGWICK COUNTY, KANSAS

EIGHTEENTH JUDICIAL DISTRICT

CIVIL DEPARTMENT

Timothy Joseph Smithe and Mary Astor Smithe,              ) Case No.:25-CV-1072.

% 203 S Clarence Street, Wichita Kansas 67213,)

Plaintiffs,              )

V.

Department of Health and Human Services, United States Postal Service, Bureau of Fiscal

Services, Bureau of Indian Affairs, Internal Revenue Et al., Defendants. )

Defendants Listed in Exhibit A;

AMENDED COMPLAINT

COME NOW Plaintiffs, Timothy Joseph Smithe and Mary Astor Smithe, appearing pro se as

co-heirs with Christ (Romans 8: 17), and file this Amended Complaint pursuant to K.S.A.

60-215(a)(2), amending the original complaint filed April 22, A.D. 2025, and served April

26-May 12, A.D. 2025, Tristate Capital Bank still pending service for the 2nd time, to remove

the Timothy Joseph Smithe and Mary Astor Smithe Foreign Grantors Trusts in response to the

Coutt's show cause order dated May 7, A.D. 2025, and to proceed as individuals, adding the

Bureau oflndian Affairs (BIA) and bureau of Fiscal Services (BFS) as new defendants, totaling

32. Guided by the Lord's call to "be ye separate" (2 Corinthians 6: 17) and Jubilee restoration

(Exodus 22: 1), firstly we seek Kingdom of God and we allege that defendants stole our identity

and labor through fraud and unjust gains over 47 years, causing $2 billion in damages, and state:

I. PARTIES - Plaintiffs - Timothy Joseph Smithe and Mary Astor Smithe are a man and woman,

husband and wife with a place of abode at% 203 S Clarence Street, Wichita, Kansas 67213,
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claiming our God-given identity as a co-heirs with Christ (Romans 8: 17), beneficiaries

(Ephesians 1: 11 ),and His claimed property within His jurisdiction (Matthew 28: 18).



1. Defendant-Social Security Administration (SSA), 6401 Security Blvd, Baltimore, MD 21235,

misused Plaintiffs' identity data by creating "twin" synthetic identities through SSNs without

consent, enabling fraudulent accounts and levies, binding Plaintiffs to worldly systems in

violation of Christ's property and God's provision (Proverbs 22:26).


2.Defendant-Illinois Department of Public Health (IDPH), 535 W Jefferson St, Springfield, IL

62761, misused Plaintiffs' identity data by creating synthetic records tied to SSNs without

consent, enabling fraudulent accounts and state levies, binding Plaintiffs to worldly systems in

violation of Christ's property and God's provision (Proverbs 22:26).


3 .Defendant-Illinois Secretary of State (SOS), 213 State Capitol, Springfield, IL 627 56, misused

Plaintiffs' identity through state registries and birth certificate data, creating "twin" entities for

profit without consent, trespassing on God's inheritance (Romans 8: 17).


4.Defendant-illinois Attorney General, 100 W Randolph St, Chicago, IL 60601, neglected to

safeguard Plaintiffs' identity, pennitting synthetic accounts and levies through state oversight,

violating God's justice (James 5:4).



5.Defendant-Kansas Secretary of State (SOS), 120 SW 10th Ave, Topeka, KS 66612, misused

Plaintiffs' identity via state records and SSNs, enabling synthetic identities for unauthorized

accounts, trespass and reaping where they did not sow (Matthew 25:24).
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6.Defendant-Kansas Attorney General, 120 SW I 0th Ave, 2nd Floor, Topeka, KS 66612, failed

to protect Plaintiffs' God-given identity, allowing fraudulent use of SSNs in state systems,

trespass and breaking faith as a steward (Luke 16:11).



7. Defendant-Internal Revenue Service (IRS), 1111 Constitution Ave NW, Washington, DC

20224, imposed fraudulent levies, binding Plaintiffs as surety (Proverbs 22:26) theft of labor

prope1ty and jurisdiction of Jesus Christ.



8. Defendant- Department of Health and Human Services (HHS), 200 Independence Ave SW,

Washington, DC 20201, misused Plaintiffs' identity via records and trespass on Christ property.



9. Defendant -Depaiiment of Education (ED), 400 Maryland Ave SW, Washington, DC 20202,

misused Plaintiffs' identity through worldly systems (John 17: 16).



10. Defendant- Bureau oflndian Affairs (BIA), 1849 C St NW, Washington, DC 20240,

concealed Plaintiffs' beneficiary status in accounts, denied Father's provision violating dominion

as beneficiaries (Genesis 1-28) and breaking faith (Luke 16:11).

11. Defendant- Bureau of the Fiscal Service (BFS), 1849 C St NW, Washington, DC 20240,

enabled fraud by withholding account access (Luke 3: 14), denying Father's provision.



Additional Defendants, numbering 21, are listed in Exhibit A, including private entities (e.g.,

Discover Financial Services, H&R Block, Bank of America et al.,) that profited from Plaintiffs'

stolen labor, contrary to God's justice (James 5:4).
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II. JURISDICTION AND VENUE

10. This Court has jurisdiction under K.S.A. 60-602 for equitable actions arising in Sedgwick

County, where we commit our cause to the Lord (Psalm 37:5).

11. Venue is proper under K.S.A. 60-603, as Plaintiffs have their place of abode in Sedgwick

County and the fraud occurred here, where we seek God's peace (Isaiah 9:6).

III. FACTUAL ALLEGATIONS

12. Since 1978, Defendants, without consent, used Plaintiffs' Social Security Numbers (SSNs)

and birth ce1iificate/Nat.Cert. to create "twin" synthetic identities, opening accounts like BIA

Individual Indian Money (IIM) and BFS accounts, reaping profits not sown (Luke 19:21),

hoarding for themselves tmjust gains, while we paid.

13. Defendants concealed these accounts, denying Plaintiffs their rightful 50% share of profits

derived from our God-given identity they trespassed on committing tort, robbing us as thieves in

the night (1 Thessalonians 5:2).

14. Freedom ofinfonnation Act (FOIA) responses show no state authority over Plaintiffs, yet

IRS levied taxes, and BIA/BFS withheld our inheritance, ignoring our requests (Proverbs 21: 15).

15. On May 18, A.D. 2025, Plaintiffs mailed preservation letters to all Defendants via first-class

mail, requesting retention of BIA JIM, BFS, and bank records, including TC 670 transactions, to

preserve evidence of this trespass and t01i.

16. Defendants' fraud stole Plaintiffs' labor a claimed property of Jesus Christ-His intellectual

property, our financial contributions stemming from labor theft, and God-given

potential-valued at $2 billion over 47 years, calculated as:

  - Lost Labor and Opportunities: $470 million, for 47 years of work (businesses, investments)

at $10 million annually per Plaintiff, stolen from God's provision (Deuteronomy 8: 18).
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  - Fraudulent Account Gains: estimated $1.3 billion, our 50% share of BIA IIM and BFS

profits, per FOIA and pending TC 670 records via IRS, withheld unjustly (Luke 3: 14).

  - Restorative Damages: $230 million, for distress, harm and costs, applying Jubilee's fourfold

restoration for theft (Exodus 22: 1).

17. This fraud violates God 's command against stealing (Exodus 20: 15), necessitating restoration

to rest in Christ's peace (Isaiah 9:6).

IV. CLAIMS FOR RELIEF

Count 1: Injunctive Relief

18. Plaintiffs incorporate paragraphs 1-17.

19. Defendants' fraud causes in-eparable harm to our God-given identity, a trespass against

Christ's inheritance (Romans 8: 17).

20. We seek a temporary restraining order (TRO) and permanent injunction to stop Defendants
                          , + tvhT,
from using our SSNs, birt~        ficate data, or names in accounts or levies, so that we may be

separate (2 Corinthians 6: 17).

21. Our cause is just, shown by FOIA evidence and preservation letters (May 18, A.D. 2025). No

worldly remedy suffices (Psalm 37:5).

Count 2: Identity Fraud (K.S.A. 21-6107)

22. Plaintiffs incorporate paragraphs 1- 21.

23. Defendants used our SSNs and birth certificate data without informed consent through

inducement, stealing our identity as thieves (John 10:10), causing hann.



Count 3: Fraud

24. Plaintiffs incorporate paragraphs 1-23.
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25. Defendants' deceit defrauded us, reaping where they did not sow (Matthew

25:24),demanding perfonnance and stealing from Christ through our labor and inheritance,

denying us peace under Father's grace.

Count 4: Breach of Fiduciary Duty (BIA, BFS, Federal Defendants)

26. Plaintiffs incorporate paragraphs 1-25.

27. BIA, BFS, USPS, IRS, ED, and HHS failed as stewards, concealing our inheritance and

enabling fraud (Luke 16: 1-2), causing loss.



Count 5: Equitable Relief

28. Plaintiffs incorporate paragraphs 1-27.

29. Defendants' theft entitles us to restoration of our labor and recognition of om Christian

names, free from state entities, per Jubilee (Exodus 22:1).



V. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request:

A. A temporary restraining order (TRO) and permanent injunction barring Defendants from

using our SSNs, birth certificate data, or names in accounts or levies, that we may be separate (2

Corinthians 6: 17).

B. A declaration recognizing our Christian names (Timothy and Mary) apart from state entities,

restoring our God-given identity (Romans 8: 17).

C. Compensatory damages of $2 billion in unlimited credit, non-taxable, payable to Timothy and

Mary via SSN-free means, reflecting:

 - Lost labor: $470 million, for 47 years stolen (Deuteronomy 8:18).
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  - Fraudulent account gains: $1.3 billion, our share withheld (Luke 3: 14).

  - Restorative damages: $230 million, per Jubilee's fourfold restoration (Exodus 22: 1).

D. An order compelling all Defendants, including the Bureau ofindian Affairs, Bureau of the

Fiscal Service, United States Postal Service, Internal Revenue Service, Department of Education,

Depaiiment of Health and Human Services, Discover Financial Services, H&R Block, Bank of

America, and those listed in Exhibit A, to produce all records, including BIA Individual Indian

Money (IIM) accounts, BFS accounts, TC 670 transactions, bank statements, and identity data

tied to our SSNs, to reveal the full scope of their fraud and restore justice (Proverbs 21: 15).

E. Costs and fees under K.S.A. 60-2002.

F. Other relief as just as fraud vitiates all, guided by God's wisdom (James 1:5), for they have

caused harm and violated dominion Our Father entrusted us, and so that all that is stolen is

returned to Christ as all is His and for His Glory only!

G. Issuance of summonses for new defendants BIA and BFS, to be served with this Amended

Complaint and the original complaint.

VI. CERTIFICATION

We certify this is filed in good faith, complies with K.S.A. 60-211, and is submitted with a

motion for leave under K.S.A. 60-215(a)(2), as the as-of-right deadline (May 17, A.D. 2025) has

passed.

Dated: May 19, A.D. 2025

In Christ's Authority, Respectfully Submitt~ f j , ~                           ~         -Srvri-}fu_

Timothy Joseph Smithe and Mary Astor Smithe,       i~h: ii/ J ith Crist anJ beneficiaries, Pro Se.
% 203 S Clarence Street, Wichita, Kansas 67213
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ADDENDUM TO AMENDED COMPLAINT



In Paragraph 12 (Factual Allegations), add: "Defendants, operating under a debt-based system

per 12 U.S.C. § 411, used our SSNs and birth certificates to create 'twin' synthetic identities,

opening accounts like BIA IIM and BFS accounts, reaping profits not sown (Luke 19:21),

contrary to our redemption by Christ's blood (1 Peter 1: 18-19)."

In Paragraph 14 (Factual Allegations), add: "Defendants BIA and BFS concealed our beneficiary

status in accounts, while BIA Trust Fund Administration's 100 employees in New Mexico

earned salaries above $100,000, with 10 exceeding $200,000 (e.g., program management,

miscellaneous administration}, per 2023 public payroll data, suggesting mismanagement of trust

funds meant for us, breaking faith as false stewards (Luke 16: 11)."

In Paragraph 14 (Factual Allegations}, add: ''Defendants IRS, BIA, and BFS further concealed

fraudulent transactions by delaying TC 670 data, requested via FOIA, with IRS indicating up to

sixty day processing time, hindering our access to evidence of synthetic identity accounts,

breaking faith as false stewards (Luke 16:11)."

In Paragraph 14 (Factual Allegations}, add: "Defendant BIA, through its Office of Trust Funds

Supervision manager, dismissed our IIM account claim citing an incorrect number prefix and

failed to respond to our application, evidence, and affidavit submitted May 14, 202\ despite a

grace period, further concealing our beneficiary status and hindering justice (Luke 16: 11 )."

In Paragraph 25 (Count 3: Fraud), add: "Defendants' deceit, leveraging a monetary system under

12 U.S.C. § 411, defrauded us by binding our God-given identity to synthetic accounts, reaping

where they did not sow (Matthew 25:24), stealing our labor and inheritance."
                                                                                                     :::
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In Paragraph 27 (Count 4: Breach of Fiduciary Duty), add: "Excessive salaries at BIA Trust

Fund Administration, with 10 employees over $200,000 and 90 above $100,000 in New Mexico,

indicate misuse of trust funds , violating Defendants' duty to manage our inheritance justly (Luke

3:14)."



Dated: May 19, A.D. 2025

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Timothy Joseph Smithe and Mary Astor mithe co heirs with Christ and beneficiaries, Pro Se.,

Plaintiffs.
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EXHIBIT A: LIST OF ADDITIONAL DEFENDANTS


12.U.S. Depaiiment of Homeland Security, 2707 Martin Luther King Jr Ave SE,

Washington, DC 20528

13.United States Postal Service, Office of General Counsel, 475 L'Enfant Plaza SW, Washington,
DC 20260

14.U.S. Attorney, 301 N. Main St. Suite 1200, Wichita KS 67202

15.Attomey General, 950 Pennsylvania Ave NW, Washington, DC 20530


16.American Express, 200 Vesey St, New York, NY 10285


17.CitiMortgage, Inc., 1000 Technology Dr, O'Fallon, MO 63368


18.Citibank, N.A., 388 Greenwich St, New York, NY 10013


19.U.S. Bank, 800 Nicollet Mall, Minneapolis, MN 55402


20.Lake Mortgage, 4425 Ponce de Leon, Coral Gables, FL 33146


21.Ocwen Financial Corporation, 1661 Worthington Rd, Suite 100, West Palm Beach, FL 33409


22.TriState Capital Bank,One Oxford Centre, 301 Grant St, Suite 2700, Pittsburgh, PA 15219


23.Byline Bancorp, Inc., [First Bank and Trnst of Evanston]


180 N LaSalle St, Suite 300, Chicago, IL 60601


24.Wintrnst Financial Corporation, 9700 W Higgins Rd, Suite 800, Rosemont, IL 60018


25.Old National Bank, P.O. Box 918, Evansville, IN 47706


26.Fidelity Investments, 200 Seaport Blvd, Boston, MA 02210
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27.H&R Block, 1300 Main St, Kansas City, MO 64105


28.Bank of America, 101 S Tryon St, Charlotte, NC 28255


29.\Vells Fargo, 420 Montgomery St, San Francisco, CA 94104


30.JPMorgan Chase, 270 Park Ave, New York, NY 10017


31. Capital One, 1680 Capital One Dr, McLean, VA 221


32.Discover Financial Services, 2500 Lake Cook Rd, Riverwoods, IL 60015
